     Case 4:20-cv-05640-YGR Document 187-1 Filed 12/15/20 Page 1 of 2



 1
     RACHELE R. BYRD (190634)                   PAUL J. RIEHLE (SBN 115199)
 2   WOLF HALDENSTEIN ADLER                     paul.riehle@faegredrinker.com
     FREEMAN & HERZ LLP                         FAEGRE DRINKER BIDDLE &
 3   750 B Street, Suite 1820                   REATH LLP
     San Diego, CA 92101                        Four Embarcadero Center, 27th Floor
 4   Telephone: 619/239-4599                    San Francisco, CA 94111
     Facsimile: 619/234-4599                    Telephone: (415) 591-7500
 5   byrd@whafh.com                             Facsimile: (415) 591-7510

 6   Interim Class Counsel for the              YONATAN EVEN (pro hac vice)
     Consumer Plaintiffs                        yeven@cravath.com
 7                                              CRAVATH, SWAINE & MOORE LLP
     BENJAMIN J. SIEGEL (SBN 256260)            825 Eighth Avenue
 8   HAGENS BERMAN SOBOL                        New York, New York 10019
     SHAPIRO LLP                                Telephone: (212) 474-1000
 9   715 Hearst Avenue, Suite 202C              Facsimile: (212) 474-3700
     Berkeley, CA 94710
10   Telephone: (510) 725-3000                  Attorneys for Plaintiff Epic Games, Inc.
     Facsimile: (510) 725-3001
11   bens@hbsslaw.com

12   Interim Class Counsel for the
     Developer Plaintiffs
13                              UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                    OAKLAND DIVISION

16                                              Case No. 4:20-cv-05640-YGR-TSH
     EPIC GAMES, INC.,
17                Plaintiff, Counter-defendant,
                       v.
18
     APPLE INC.,
19                Defendant, Counterclaimant.
20                                             Case No. 4:11-cv-06714-YGR-TSH
     IN RE APPLE IPHONE ANTITRUST
21   LITIGATION

22                                             Case No. 4:19-cv-03074-YGR-TSH
     DONALD R. CAMERON, et al.,
23                                     Plaintiffs, DECLARATION OF YONATAN EVEN
                                                   IN SUPPORT OF PLAINTIFFS’ JOINT
24                        v.                       ADMINISTRATIVE MOTION TO FILE
     APPLE INC.,                                   UNDER SEAL THE JOINT DISCOVERY
25                                                 LETTER BRIEF REGARDING APPLE
                                      Defendant. DEPOSITIONS AND SUPPORTING
26                                                 EXHIBITS
27                                              Judge: Hon. Magistrate Thomas S. Hixson
28
                                DECLARATION OF YONATAN EVEN
      Case Nos.: 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
      Case 4:20-cv-05640-YGR Document 187-1 Filed 12/15/20 Page 2 of 2



 1                  I, Yonatan Even, declare as follows:

 2                  1.      I am a partner at the law firm of Cravath, Swaine & Moore LLP, and am

 3   one of the attorneys representing Epic Games, Inc. in the above-captioned actions. I am admitted

 4   to appear before this Court pro hac vice in Epic v. Apple.

 5                  2.      I submit this declaration pursuant to Civil Local Rules 7-11(a) and 79-5(d)-

 6   (e) in support of Plaintiffs’ Joint Administrative Motion to File Under Seal the Joint Discovery

 7   Letter Brief Regarding Apple Depositions (the “Joint Discovery Letter Brief”) and Supporting

 8   Exhibits 1-12 and A-D. The contents of this declaration are based on my personal knowledge.

 9                  3.      Portions of the Joint Discovery Letter Brief and its exhibits contain

10   information that Defendant Apple Inc. (“Apple”) has designated as “CONFIDENTIAL” or

11   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the protective orders in the

12   above-captioned actions. (Epic Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR-TSH, ECF

13   No. 112; In re Apple iPhone Antitrust Litigation, No. 4:11-cv-06714-YGR-TSH, ECF No. 199;

14   Donald R. Cameron, et al. v. Apple Inc., No. 4:19-cv-03074-YGR-TSH, ECF No. 85.) Apple

15   requested that the entire filing be sealed.

16

17                  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

18   is true and correct and that I executed this declaration on December 15, 2020 in New York, NY.

19

20                                                      /s/ Yonatan Even
                                                        Yonatan Even
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                                  DECLARATION OF YONATAN EVEN
        Case Nos.: 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
